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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   JOHN LESTER COX,                                        CASE NO. C19-1486-JCC
10                             Plaintiff,                    ORDER
11          v.

12   MIRA NARKIEWICZ, et al.,

13                             Defendants.
14

15          This matter comes before the Court on Plaintiff John Lester Cox’s motion for an
16   extension of time to object to Magistrate Judge Peterson’s Report and Recommendation (Dkt.
17   No. 30). Having thoroughly considered the parties’ briefing and the relevant record, the Court
18   hereby GRANTS in part and DENIES in part the motion.
19          On November 10, 2020 Magistrate Judge Peterson filed a Report and Recommendation
20   (“R&R”) recommending that the Court dismiss Mr. Cox’s First Amendment and Eighth
21   Amendment claims with prejudice. (See Dkt. No. 29.) Magistrate Judge Peterson set the deadline
22   for Mr. Cox to object for twenty-one days after the R&R was filed. (See id. at 22.) Accordingly,
23   Mr. Cox’s deadline to object was December 1, 2020.
24          Before that deadline expired, Mr. Cox moved for a 52-day extension because he learned
25   after the R&R was filed that he has a mass on his thyroid that will need to be biopsied. (See Dkt.
26   No. 30 at 1, 4–5.) Defendants do not oppose a 30-day extension, but object to the full extension


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 1   Mr. Cox has requested. (See Dkt. No. 31.)

 2          In his motion, Mr. Cox asserts that “there are multiple invasive procedures planned” but

 3   does not provide any details about the nature or timing of those procedures. (Dkt. No. 30 at 1.)

 4   The medical documentation attached to his motion shows that doctors recommend Mr. Cox

 5   undergo a fine needle aspiration. (See id. at 4.) That documentation says that the procedure “can

 6   take anywhere from 15-60 minutes” and that afterward Mr. Cox “may have soreness for 1-2

 7   days.” (Id. at 5.) It also says that this procedure “almost never results in complications” and that

 8   “[p]atients often return home or go back to work after the biopsy, without any ill effects.” (Id.)
 9          Based on this record, the Court finds good cause to extend the deadline for 35 days but
10   does not find good cause for the 52-day extension Plaintiff requests. 1 Accordingly, the Court
11   GRANTS in part and DENIES in part Mr. Cox’s motion and EXTENDS the deadline to object to

12   the R&R to Tuesday, January 5, 2021.

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14          DATED this 30th day of December 2020.




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                                                           John C. Coughenour
18                                                         UNITED STATES DISTRICT JUDGE
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      Defendants argue that the Court may not extend the deadline unless it finds “excusable neglect”
25   as required by Federal Rule of Civil Procedure 6(b)(1)(B). However, because Mr. Cox filed his
     motion “before the original time” to object to the R&R “expire[d],” the Court may grant the
26   motion upon a finding of good cause. Fed. R. Civ. P. 6(b)(1)(A).

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